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                           Hunter v. Ormond, et al., 08 C 7467
                                             Exhibit B


                  PARTIES’ PROPOSED DESCRIPTION OF THE CASE
       Plaintiff is Lavel Hunter. He claims that on December 14, 2007, at approximately

9:00 PM, he was in a store on the 3800 block of W. Roosevelt Road in Chicago, Illinois, making

a purchase when Defendants John Ormond, Michael Garza, and Brian Hood arrived at the store.

Plaintiff claims he was stopped and grabbed without reasonable suspicion and without legal

cause. Plaintiff claims he was then arrested and searched, all without probable cause to believe
that he had committed a crime. Defendants Jeffrey Mayer and Genelle Michon later arrived and

assisted in the detention and search of plaintiff. Plaintiff claims he was falsely accused of

possession of a controlled substance and maliciously prosecuted for said crime. Plaintiff was

incarcerated for 20 days. Plaintiff claims he has been injured as a result of the actions of

defendants



       Defendants are Chicago police officers John Ormond, Michael Garza, Brian Hood,

Jeffrey Mayer, and Genelle Michon. Defendants deny plaintiff’s claims.
